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    13 NIE YONGZHONG and XIAMEN NIELL ELECTRONICS CO. LTD.

    14                        UNITED STATES DISTRICT COURT
    15
                             CENTRAL DISTRICT OF CALIFORNIA
    16
                                                )   Case No. SACV13-00239 DOC (DFMx)
    17    MEGGITT (SAN JUAN                     )
          CAPISTRANO), INC., a Delaware         )   DEFENDANTS’ BRIEF ON FORM
    18                                          )   OF JOINT PROTECTIVE ORDER
          corporation dba MEGGITT
          SENSING SYSTEMS,                      )
    19                                          )   [Discovery Document: Referred to
                Plaintiff,                      )   Magistrate Judge Douglas F.
    20                                          )   McCormick]
                                                )
    21             v.                           )   Date: February 11, 2014
                                                )   Time: 10:00 am
    22    NIE YONGZHONG, aka William            )   Judge: Hon. Douglas F. McCormick
          Nie and/or Bill Nie, an individual;   )   Location: Courtroom 6A- 6th Floor
    23    and XIAMEN NIELL                      )
          ELECTRONICS CO. LTD., a               )
    24    Chinese corporation,                  )
                                                )
    25                                          )
                Defendants.
                                                )
    26                                          )
    27

    28



                    DEFENDANTS’ BRIEF ON FORM OF JOINT PROTECTIVE ORDER
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     1 I.      INTRODUCTION
     2         Counsel for Defendants has had numerous communications with counsel for
     3 Plaintiff regarding the crafting of a joint protective order. As early as December 5,

     4 2013, counsel for Plaintiff had been aware that co-counsel in China, Ms. Ruixue

     5 Ran and Mr. Mark H. Chu of Jun He Law Offices (“Jun He”), had been admitted to
                                                                                  1
     6 practice in the United States and were familiar with protective orders. In addition,

     7 as early as December 31, 2013, counsel for Plaintiff had been provided copies of

     8 two orders rendered by the International Trade Commission denying Complainant’s

     9 motion to preclude Ms. Ruixue Ran and her law firm from access to confidential
                                                          2
    10 business information under the protective order. Despite receiving the above

    11 information, Plaintiff’s counsel steadfastly refused to allow Jun He access to
                                                                              3
    12 Plaintiff’s confidential information on an attorneys’ eyes only basis.

    13
         1
    14
           Declaration of Mark H. Chu filed concurrently herewith (“Chu Decl.”), Ex. A
         (Gray email to Kertell dated December 5, 2013 regarding access to Plaintiff’s
    15   confidential information by Jun He).
         2
    16
           See Chu Decl., Ex. E, In the Matter of Certain Rubber Resins and Processes for
         Manufacturing Same, Inv. No. 337-TA-849, Order No. 13 (Nov. 6. 2012) (“SI
    17   Group has only made hypothetical accusations that Ms. Ran has violated the
    18   Protective Order and has not shown a single instance where Ms. Ran acted
         improperly . . . [t]these groundless allegations are insufficient cause to disqualify
    19   counsel”); See also Chu Decl., Ex. F, In the Matter of Certain L-Lysine Feed
    20   Products, Their Methods of Production and Genetic Constructs for Production, Inv.
         No. 337-TA-571, Order No. 4, at *4 – 5 (July 7, 2006) (denying Complainant’s
    21   motion to preclude Ms. Ran and her firm from accessing confidential information
    22   under the protective under on the basis that, “as a member of the New York bar, she
         would be subject to disciplinary and ethical sanctions in the event of a violation of
    23   the Protective Order.”
         3
    24     For example, in its responses to Neill-Tech’s first set of interrogatories dated
         January 15, 2014, Plaintiff responds in the general objections that “Plaintiff objects
    25   to each and every one of Defendants' interrogatories to the extent they seek trade
    26   secret, confidential, and/or otherwise proprietary information of Plaintiff and/or its
         directors, officers, or employees. Such information will only be produced in a
    27   manner consistent with a Protective Order entered in the above-captioned action
    28   (that, among other things, prevents conversion of its trade secret information into
                                                  -1-
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     1         On January 15, 2014, counsel for Defendants’ held a telephonic meet and
     2 confer with Plaintiff’s counsel regarding the issues relating to the joint protective

     3 order. At that meet and confer, counsel for Plaintiff and Defendants agreed that

     4 there were five outstanding issues based on the version of the protective order
                                                     4
     5 exchanged between the parties at that time. On January 17, 2014, Counsel for

     6 Defendants emailed counsel for Plaintiff stating that, as a compromise, they would

     7 accede to four out of the five issues, so long as Plaintiff’s agreed that their
                                                                  5
     8 confidential information could be transmitted to China. On January 24, 2014, after

     9 receiving Plaintiff’s proposed version of the joint protective order, counsel for

    10 Defendants emailed Plaintiff’s counsel stating that in addition to acceding to four

    11 out of the original five issues, they also would agree that Plaintiff’s source code

    12 could only be viewed in the United States, so long as Defendant’s source code could

    13 only be viewed in China.

    14         Despite Defendants’ counsel acceding to almost all of the issues raised by
    15 Plaintiff during their January 15, 2014 meet and confer, Plaintiff’s counsel has

    16 refused to allow Jun He to view Plaintiff’s confidential information on an attorneys’

    17

    18 electronic form, dissemination of its trade secret information outside the United
         States, or disclosure of its trade secret information to anyone other than the current
    19 attorneys of record in this action who are permanently located in the United States),

    20 or by other agreement of the parties through their counsel of record”. See Plaintiff
         Meggitt (San Juan Capistrano), Inc’s Objections and Responses to Defendants’ First
    21 Set of Interrogatories, Chu Decl., Ex. C (emphasis added).
         4
    22     Chu Decl., Ex. B (Chu email to LaPorte dated January 17, 2014). The issues in
         dispute were as follows: (1) Paragraph 4 (Challenging Confidentiality Designations)
    23   and Paragraph 8 (Objections); (2) Paragraph 5 (Access) and Paragraph 9 (Source
    24   Code); (3) Paragraph 11 (Final Disposition); (4) Paragraph 12 (Designated Material
         Subpoenaed or Ordered Produced in Other Litigation) and Paragraph 13 (A Non-
    25   Party’s Protected Material Sought to be Produced in this Litigation); (5) Access to
    26   Confidential Information by Interpreters / Translators.
         5
           Chu Decl., Ex. B (Chu email to LaPorte dated January 24, 2014 regarding access
    27   to Plaintiff’s confidential information by Jun He).
    28
                                                   -2-
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     1 eyes only basis. However, Plaintiff’s counsel must surely be aware that the job

     2 travelers in dispute have already, by virtue of being shared with Plaintiff’s Xiamen

     3 entity, left the continental United States. As of the date of this brief, Plaintiff’s

     4 counsel has been unable to articulate the risk of allowing Jun He to view Plaintiff’s

     5 confidential information on an attorneys’ eyes only basis.

     6 II.    ACCESS TO TRADE SECRET INFORMATION
     7        A.     Plaintiff’s Position
     8        Plaintiff has changed its stance on who can have access to its confidential
     9 information, with each successive stance more restrictive than the last. First, upon

    10 becoming aware that Jun He had been engaged as co-counsel in China, Plaintiff’s

    11 counsel initially objected on the basis that “Plaintiff cannot agree to grant counsel

    12 who are not admitted to a United States court access to its Confidential
                      6
    13 Information.” Upon discovering that co-counsel was admitted to practice in the

    14 United States, Defendant changed their position and stated that “[w]e cannot agree

    15 that confidential information leave the U.S. in that we would lose jurisdiction and

    16 control over the situation / information if there were disclosure of any kind,
                                   7
    17 inadvertent or otherwise.” Plaintiff changed its position yet again in their

    18 objections to discovery responses by adding the requirement that only “current

    19 attorneys of record in this action who are permanently located in the United States”

    20 will have access to Plaintiff’s confidential information.

    21        Recently, Plaintiff has adopted an even harder line, as evidenced in its
    22 objection to Defendants’ interrogatory responses, by limiting access to “the current
                                                                                               8
    23 attorneys of record in this action who are permanently located in the United States.”

    24

    25   6
          Chu Decl., Ex. A (Gray email to Kertell dated December 5, 2013 regarding access
    26 7to Plaintiff’s confidential information by Jun He).
          Chu Decl., Ex. A (LaPorte email to Gray dated December 5, 2013 regarding access
    27 to Plaintiff’s confidential information by Jun He).
       8
    28    Id.
                                                   -3-
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     1 Similarly, in their proposed protective order, Plaintiff would limit the viewing of the

     2 trade secrets to “outside litigation counsel of record in this litigation located in
                                      9
     3 Orange County, California.” In their Opposition to Defendants’ Motion for a

     4 Protective Order Staying Discovery, Plaintiff would provide for a “restriction that

     5 such [confidential] documents only be disclosed to counsel of record located
                                                                                  10
     6 permanently in the United States and admitted to the California Bar.”           Such a
     7 restriction, if accepted, would effectively prevent any counsel located in China from

     8 having attorneys’ eyes only access to Plaintiff’s confidential information.

     9         The above restrictions would also act to prevent U.S. qualified attorneys at
    10 international firms (such as Jones Day and Baker & McKenzie) working outside of

    11 the United States from accessing confidential information in trade secret actions.

    12 Applied to the instant case, such a restriction would prevent Jun He (and any other

    13 law firm, foreign or domestic, with counsel located outside the United States) from
                                                                  11
    14 effectively representing the Defendants in this action.

    15         According to Plaintiff’s proposed draft protective order, the confidential
    16 information or items are to be classified into three levels, i.e., "CONFIDENTIAL,"

    17 "HIGHLY CONFIDENTIAL – ATTORNEYS' EYES ONLY," or "HIGHLY

    18 CONFIDENTIAL – TRADE SECRET SOURCE MATERIAL". As to the

    19 information or items designated as "HIGHLY CONFIDENTIAL – ATTORNEYS'

    20 EYES ONLY," or "HIGHLY CONFIDENTIAL – TRADE SECRET SOURCE

    21 MATERIAL", unless permitted by the producing party, the receiving party may not
                                                           12
    22 create any electronic images or electronic copies        , and they are not allowed to
    23
         9
    24     See Plaintiff’s Proposed Protective Order, a ComparRite version of which
         (indicating Plaintiff’s changes to Defendants’ Proposed Protective Order) is attached
    25   to this motion as Exhibit 2.
         10
    26      Plaintiff’s Opposition to Defendants’ Motion for a Protective Order Staying
         Discovery (Dkt. 85), fn. 9.
    27   11
            See fn 3, supra.
         12
    28      See 7.4(a) and 7.6(k) of Plaintiff’s Proposed Protective Order, Ex. 2.
                                                   -4-
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                                                         13
     1 physically leave the continental United States.        Presumably, Plaintiff’s position is
     2 based on the theory that the District Court has no realistic ability to sanction
                                                                                14
     3 Defendants’ counsel in China for any breach of a Protective Order.            However, as
     4 shown below, such a position has no basis in law or fact.

     5        B.     Defendants’ Position
     6        Defendants, in their proposed joint protective order, propose that Jun He will
     7 have attorneys’ eyes only access to Plaintiff’s confidential information (i.e., such

     8 information can be transmitted to China). As a compromise, Defendants have agreed

     9 that Plaintiff’s source code can only be viewed in the United States so long as

    10 Defendants’ source code can only be viewed in China.

    11        C.     Argument in Support of Defendants’ Position
    12               1.     This Court Has the Ability to Sanction U.S. Qualified Attorneys
    13                      Located in China For any Breach of a Protective Order
    14        Plaintiff’s argument that District Court has no realistic ability to sanction
    15 Defendants’ U.S. qualified attorneys located in China for any breach of a Protective

    16 Order is unconvincing. Ms. Ran and Mr. Chu are members in good standing of the
                                   15
    17 New York and Illinois bar.       In addition, pursuant to Local Rule 83-2.1.1.2, “[a]ny
    18 attorney who appears for any purpose submits to the discipline of this Court in all

    19 respects pertaining to the conduct of the litigation.” As such, Ms. Ran and Mr. Chu

    20 are clearly within the jurisdictional reach of this Court and would be subject to

    21 disciplinary and ethical sanctions in the event of a violation of the protective order,

    22 whether intentional or inadvertent.

    23        It is common for U.S. qualified attorneys who are based abroad to have access
    24

    25   13
          See 7.4(c) and 7.6(m) of Plaintiff’s Proposed Protective Order, Ex. 2.
         14
    26    See Plaintiff’s Opposition to Defendants’ Motion for a Protective Order Staying
       Discovery (Dkt. 85), p. 16.
    27 15 See Application for attorney Ruixue Ran to Appear Pro Hac Vice (Dkt. 63); See

    28 Application for attorney Mark H. Chu to Appear Pro Hac Vice (Dkt. 64).
                                                   -5-
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     1 to confidential trade secret information. For example, in RF Micro Devices, Inc. v.

     2 Xiang, 2013 U.S. Dist. LEXIS 140086, Benjamin Bai, a U.S. qualified attorney
                                                           16
     3 based at Allen & Overy LLP’s Shanghai Office             was allowed access to plaintiff’s
     4 trade secret information. Specifically, the stipulated protective order entered by the

     5 court in RF Micro Devices did not forbid the cross-border transmission of the trade
                            17
     6 secret information.       Also, it would be incongruous to deny an attorney qualified to
     7 practice in the U.S. but located abroad the same privileges afforded to foreign

     8 attorneys. For example, in Briese USA, Inc. v. Briese Lichttechnik Vertriebs

     9 GmbH, 2008 U.S. Dist. LEXIS 27543, the foreign defendants’ counsel in Germany

    10 were allowed access to plaintiff’s confidential information, even though German

    11 counsel may not have been admitted to practice law in the United States.

    12         Further, Ms. Ran has signed several protective orders regarding confidential
    13 business information in U.S. International Trade Commission cases (“ITC”), three

    14 of which are trade secret cases involving the cross-border electronic transmission of
                                                                      18
    15 the U.S. complainants’ trade secret materials into China.           As part of her
    16 representation of Respondents before the ITC, Ms. Ran has also appeared before the
                                                   19
    17 Court of Appeals for the Federal Circuit.        In addition, complainants in ITC cases
    18 have previously raised the same argument as Plaintiff does in the instant action, i.e.,

    19 that Ms. Ran and her firm cannot be properly sanctioned in the event of any breach

    20

    21   16
            See Mr. Bai’s profile available at www.allenovery.com/people/en-
    22   gb/Pages/Benjamin-Bai.aspx (last accessed on January 27, 2014).
         17
            RF Micro Devices, Inc. v. Xiang, 2013 U.S. Dist. LEXIS 140086, Dkt. 68-1.
    23   18
            Attached as Exhibit D to the Chu Decl. are true and correct copies of letters to the
    24   International Trade Commission (“ITC”) where Ms. Ran appeared in the cases and
         agreed to be bound by the terms of the protective orders in those cases. Mr. Chu is
    25   also referenced in one of these letters as signing the protective order in a trade secret
    26   case.
         19
            Tianrui Group Co. Ltd. v. ITC, No. 2010-139) (Oct. 11, 2011); Tessera Inc. v.
    27   Int’l Trade Comm’n, No. 2010–1176 (May 23, 2011); Ajinomoto Co., Inc. v. Int’l
    28   Trade Comm’n, No. 2009-1081 (March 8, 2010).
                                                    -6-
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                                 20
     1 of a protective order.         Like the complainants in these two cases, Plaintiff has not
     2 provided any evidence that Ms. Ran or Mr. Chu has violated any past protective

     3 orders nor any legal grounds which would call from their being precluded from

     4 having access to Plaintiff’s confidential information on an attorneys’ eyes only

     5 basis.

     6          Therefore, based on the foregoing, the U.S. admitted attorneys at Jun He
     7 should be allowed to have access to all of the confidential information.

     8                2.     Adoption of Plaintiff’s Restrictions Would Unduly Burden and
     9                       Unfairly Prejudice the Defendants
    10          If Plaintiff’s proposed restrictions are accepted by this Court, Jun He’s U.S.
    11 admitted attorneys would be forced to personally travel to the United States to

    12 review discovery documents and to permanently stay in the United States during the

    13 pendency of this case in order to effectively prepare a defense. Such a restriction

    14 would entail a colossal waste of resources and would impose an undue burden upon

    15 the Defendants. The alternative would require that the Defendants rely solely on

    16 counsel located in the United States which will result in ineffective communication

    17 (a point complained of by Plaintiff’s counsel) between the Chinese Defendants and
                            21
    18 their U.S. counsel.       Moreover, such ineffective communication will threaten to
    19 hamper discovery, as well as other aspects, of this case. Since joining the case as

    20 co-counsel, Jun He has played an active and effective role in improving the

    21 discovery process. For example, during the mandated meet and confer on January

    22 14, 2014 held before this Court and personally attended by Mr. Chu on behalf of

    23 Defendants, the parties were able to reach an agreement on a framework for the

    24 scope of future discovery.

    25
         20
    26   See fn 2, supra.
         21
         Plaintiff’s Opposition to Defendants’ Motion for a Protective Order Staying
    27 Discovery (Dkt. 85), p. 3 – 5.

    28
                                                       -7-
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     1          Also, Defendants will be unfairly prejudiced by limitations on access to
     2 Plaintiff’s trade secret information. As many of the operative facts of this case

     3 occurred in China, it is crucial to have counsel based in China to facilitate the

     4 discovery. In addition, Ms. Ran and Mr. Chu are bilingual attorneys in China with

     5 knowledge of federal civil action procedure, which will be invaluable to

     6 Defendants’ formulation of strategy, responding to discovery requests, briefing, and

     7 the hearing itself.

     8                3.     Plaintiff’s Alleged Trade Secrets Have Already Been
     9                       Transmitted to China by Virtue of Disclosure to Meggitt Xiamen
    10          Plaintiff objects to the creation of any electronic images or electronic copies
    11 of the material containing its trade secrets. However, most (if not all) of these

    12 alleged materials should already exist in electronic form as they have been

    13 transmitted to Plaintiff Xiamen. In the Operations Governance Framework

    14 Agreement between Plaintiff SJC and Meggitt Xiamen article 9.0 explicitly provides

    15 that “[t]he following documents must be released by each MSS [Meggitt Sensing

    16 Systems] site configuration controller and sent directly to MXM’s [Meggitt

    17 Xiamen’s] document control centre (DCC), in compliance with MSS external

    18 configuration control (inclusive of trade compliance) and in accordance with MSS

    19 SBU product integration – outsourcing/transfer stage gate guidelines. 1. Production

    20 Drawings 2. Bill of Material (BOM) 3. Process Specifications 4. Acceptance Test
                                                                                           22
    21 Procedures (ATP) 5. Manufacturing Build/Work Instructions 6. Data Sheets.”

    22 Since the assembly instructions, and other technical documents used in the

    23 manufacture of accelerometers and sensors such as the production drawings, bill of

    24 materials, process specifications, acceptance test procedures and data sheets have

    25 apparently already been electronically transmitted to its affiliate located in Xiamen,

    26   22
           See Exhibit A to Mendoza Second Supplemental Declaration in Support of
    27 Plaintiff’s Motion for Preliminary Injunction and Expedited Discovery (Dkt 39-9),

    28 p. 18.
                                                   -8-
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  1 China, Plaintiff has no legal basis to object to the electronic imaging and cross-

  2 border transmission of trade secret information largely comprised of assembly
                  23
  3 instructions.

  4 III.    ACCESS TO SOURCE CODE
  5         A.      Plaintiff’s Position
  6         Plaintiff proposes that each party’s source code is not allowed to physically
                                           24
  7 leave the continental United States , and shall be made available for inspection in
                                  25
  8 Orange County, California.

  9         B.      Defendants’ Position
 10         Considering the importance and sensitivity of the parties’ source code and the
 11 potential applicability of U.S. and Chinese export control laws, Defendants agree

 12 with Plaintiff’s position that the source code will not leave the continental United

 13 States so long as Defendants’ source code is afforded the same treatment (i.e., its

 14 source code will not be allowed to physically leave China and shall be made

 15 available for inspection in Beijing). However, Plaintiff’s proposal does not consider

 16 the necessity of transporting the source code to Hong Kong, a common location for

 17 the deposition of Chinese deponents. Therefore, Defendants have added an

 18 exception allowing the transportation of each party’s source codes to Hong Kong for

 19 the purposes of depositions.

 20

 21
      23
 22      Plaintiff may argue that export control laws of the United States support its
      position prevents cross-border transmission of its alleged trade secrets. However,
 23   Plaintiff fails to raise this argument. Even if it raises such argument, its argument
 24   will be baseless as the alleged trade secrets have already been transmitted to Meggitt
      Xiamen, which means that either such materials are not subject to export control
 25   laws or, if they are subject to export control laws, that Plaintiff has violated these
 26   laws.
      24
         See 7.4(c) and 7.6(m) of Plaintiff’s Proposed Protective Order, Ex. 2.
 27   25
         See 7.6 (a) of Plaintiff’s Proposed Protective Order, Ex. 2.
 28
                                                -9-
                 DEFENDANTS’ BRIEF ON FORM OF JOINT PROTECTIVE ORDER
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  1 IV.        ACCESS TO CONFIDENTIAL INFORMATION BY IN-HOUSE
  2            COUNSEL AND OTHER DESIGNATED EMPLOYEES
  3            A.    Plaintiff’s Position
  4            Plaintiff proposes that two in-house counsels and two other designated
  5 employees of the receiving party shall be allowed access the information or item
                                             26
  6 designated as “CONFIDENTIAL” .

  7            B.    Defendants’ Position
  8            Defendants propose that in-house counsel and designated employees’ access
  9 to the information designated as “CONFIDENTIAL” is unnecessary based on the

 10 following reasons. First, the parties can adequately prepare the case without in-

 11 house counsel and designated employees’ access to the opposing party’s

 12 confidential information. Specifically, this is a trade secret misappropriation case

 13 and its nucleus entails the comparison of both parties’ technical information, for

 14 which access by in-house counsel and other designated employees would be

 15 unnecessary. Second, in view of the fact that the parties are competitors, the

 16 intentional or inadvertent disclosure of the confidential information by in-house

 17 counsel and/or the designated employees will potentially cause irreparable harm to

 18 the producing party.

 19 V.         ACCESS TO CONFIDENTIAL INFORMATION BY RULE 30(B)(6)
 20            WITNESSES
 21            A.    Plaintiff’s Position
 22            Plaintiff proposes that Rule 30(b)(6) witnesses of the Producing Party be
 23 allowed to access the opposing party’s information designated as

 24 "CONFIDENTIAL," "HIGHLY CONFIDENTIAL – ATTORNEYS' EYES

 25 ONLY," or "HIGHLY CONFIDENTIAL – TRADE SECRET SOURCE

 26

 27
      26
 28        See 2.8 and 7.2(c) of Plaintiff’s Proposed Protective Order, Ex. 2.
                                                  - 10 -
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                       27
  1 MATERIAL".

  2            B.    Defendants’ Position
  3            Although no objection is raised as to the 30(b)(6) witness’ access to the
  4 information designated as "CONFIDENTIAL," Defendants object to Plaintiff’s

  5 proposal that 30(b)(6) witness shall have access to the information designated as

  6 "CONFIDENTIAL," "HIGHLY CONFIDENTIAL – ATTORNEYS' EYES

  7 ONLY," or "HIGHLY CONFIDENTIAL – TRADE SECRET SOURCE

  8 MATERIAL" on the basis that the confidential information of both parties may be

  9 subject to the risk of intentional or inadvertent disclosure by the 30(b)(6) witness.

 10            For the above reasons, Defendants respectfully request that this Court enter
 11 Defendants’ proposed protective order, attached to this brief as Exhibit 1.

 12
      DATED: January 28, 2014                 JUN HE LAW OFFICES
 13

 14
                                               By: /s/ Mark H. Chu
 15                                              Ruixue Ran
                                                 Mark H. Chu
 16
                                                  Attorney for Defendants
 17

 18 DATED: January 28, 2014                    BAKER MARQUART LLP
 19

 20
                                               By: /s/ Jaime W. Marquart
 21                                              Jaime W. Marquart
 22                                               Attorney for Defendants
 23

 24

 25

 26

 27
      27
 28        See 7.2(h), 7.3 (g) and 7.5 (g) of Plaintiff’s Proposed Protective Order, Ex. 2.
                                                  - 11 -
                    DEFENDANTS’ BRIEF ON FORM OF JOINT PROTECTIVE ORDER
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 19
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 20
                           CENTRAL DISTRICT OF CALIFORNIA
 21

 22   MEGGITT (SAN JUAN                      Case No. SACV 13-0239 DOC (DFMx)
      CAPISTRANO), INC.
 23                                          [PROPOSED] JOINT PROTECTIVE
                        Plaintiff,           ORDER
 24
              v.                             Hon. David F. McCormick
 25
      NIE YONGZHONG and XIAMEN
 26   NIELL ELECTRONICS CO., LTD.,
 27                     Defendants.
 28
                                                              JOINT STIPULATED PROTECTIVE ORDER
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  1   1.      PURPOSES AND LIMITATIONS
  2           Disclosure and discovery activity in this action are likely to involve production
  3   of trade secret, confidential, otherwise proprietary, and/or private information for
  4   which special protection from public disclosure and from use for any purpose other
  5   than prosecuting this litigation may be warranted. Accordingly, because good cause
  6   exists, the Parties hereby petition the Court to enter the following Joint Protective
  7   Order ("Order"). The Parties acknowledge that this Order does not confer blanket
  8   protections on all disclosures or responses to discovery, and that the protection it
  9   affords from public disclosure and use extends only to the limited information or
 10   items that are entitled to confidential treatment under applicable legal principles. The
 11   Parties further acknowledge, as set forth in Paragraph 12.4, below, that this Order
 12   does not entitle them to file confidential information under seal. Civil Local Rule
 13   79-5 sets forth the procedures that must be followed and the standards that will be
 14   applied when a Party seeks permission from the Court to file material under seal.
 15   2.      DEFINITIONS
 16           2.1 Challenging Party: A Party or Non-Party that challenges the designation
 17   of information or items under this Order.
 18           2.2 "CONFIDENTIAL" Information or Items: Information (regardless of how
 19   it is generated, stored, or maintained) or tangible things that qualify for protection
 20   under Federal Rule of Civil Procedure 26(c).
 21           2.3 Designating Party: A Party or Non-Party that designates information or
 22   items that it produces in disclosures or in responses to discovery as
 23   "CONFIDENTIAL," "HIGHLY CONFIDENTIAL – ATTORNEYS' EYES ONLY,"
 24   or "HIGHLY CONFIDENTIAL – TRADE SECRET SOURCE CODEMATERIAL."
 25           2.4 Disclosure or Discovery Material: All items or information, regardless of
 26   the medium or manner in which it is generated, stored, or maintained (including,
 27

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                                                                         JOINT STIPULATED PROTECTIVE ORDER
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  1   among other things, testimony, transcripts, and tangible things), that are offered for
  2   inspection, produced, or generated in disclosures or responses to discovery in this
  3   matter.
  4           2.5 Expert: A person with specialized knowledge or experience in a matter
  5   pertinent to the litigation who: (1) has been retained by a Party or its Outside Counsel
  6   of Record to serve as an expert witness or as a consultant in this action; (2) is not a
  7   current employee of a Party; (3) is not a current employee of a Party's competitor; and
  8   (4) at the time of retention, is not anticipated to become an employee of a Party or of a
  9   Party's competitor.
 10           2.6 "HIGHLY CONFIDENTIAL – ATTORNEYS' EYES ONLY"
 11   Information or Items: Extremely sensitive "Confidential Information or Items,"
 12   disclosure of which to another Party or Non-Party would create a substantial risk of
 13   serious harm that could not be avoided by less restrictive means.
 14           2.7 "HIGHLY CONFIDENTIAL – TRADE SECRET SOURCE CODE
 15   MATERIAL" Information or Items (also referred to as "Trade Secret Source
 16   Material"): Extremely sensitive “"Confidential Information or Items” representing
 17   computer source code and associated comments and revision histories, formulas,
 18   engineering specifications, or schematics that define or otherwise describe in detail
 19   the algorithms or structure of software or hardware designs" representing the source
 20   of trade secret material (e.g., assembly instructions and computer source code),
 21   disclosure of which to another Party or Non-Party would create a substantial risk of
 22   serious harm that could not be avoided by less restrictive means.
 23           2.8 In-House Counsel: Attorneys who are employees of a Party to this action
 24   or a Party's parent company (if the Party is a wholly-owned subsidiary).
 25           2.9 Non-Party: Any natural person, partnership, corporation, association, or
 26   other legal entity not named as a Party to this action.
 27

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  1           2.10 Outside Counsel of Record: Attorneys who are not employees of a Party
  2   to this action, but are retained to represent or advise a Party to this action and have
  3   formally appeared in this action on behalf of that Party.
  4           2.11 Party: Any Party to this action, including all of its officers, directors,
  5   employees, consultants, retained experts, and Outside Counsel of Record (and their
  6   paralegals, patent agents, and secretarial staff).
  7           2.12 Producing Party: A Party or Non-Party that offers for inspection or
  8   produces Disclosure or Discovery Material in this action.
  9           2.13 Professional Vendors: Persons or entities that provide litigation support
 10   services (e.g., photocopying, videotaping, translating, preparing exhibits or
 11   demonstrations, and organizing, storing, or retrieving data in any form or medium)
 12   located in the continental United States.
 13           2.14 Protected Material: Any Disclosure or Discovery Material that is
 14   designated as "CONFIDENTIAL " "HIGHLY CONFIDENTIAL – ATTORNEYS'
 15   EYES ONLY," or "HIGHLY CONFIDENTIAL – TRADE SECRET SOURCE
 16   CODEMATERIAL."
 17           2.15 Receiving Party: A Party that inspects or receives Disclosure or
 18   Discovery Material from a Producing Party.
 19   3.      SCOPE
 20           The protections conferred by this Order cover not only Protected Material (as
 21   defined above), but also: (1) any information copied or extracted from Protected
 22   Material; (2) all copies, excerpts, summaries, or compilations of Protected Material;
 23   and (3) any testimony, conversations, or presentations by Parties or their Outside
 24   Counsel of Record that might reveal Protected Material. However, the protections
 25   conferred by this Order do not cover any information that is in the public domain at
 26   the time of the disclosure to a Receiving Party or becomes part of the public domain
 27   after its disclosure to a Receiving Party as a result of publication not involving a
 28   violation of the law or this Order.
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  1   4.      DURATION
  2           Even after final disposition of this litigation, the confidentiality obligations
  3   imposed by this Order shall remain in effect until a Designating Party agrees
  4   otherwise in writing or a court order otherwise directs. Final disposition shall be
  5   deemed to be the later of: (1) dismissal of all claims and defenses in this action, with
  6   or without prejudice; and (2) final judgment herein after the completion and
  7   exhaustion of all appeals, rehearings, remands, trials, or reviews of this action,
  8   including the time limits for filing any motions or applications for extension of time
  9   pursuant to applicable law.
 10   5.      DESIGNATING PROTECTED MATERIAL
 11           5.1       Exercise of Restraint and Care in Designating Material for Protection.
 12   Each Party or Non-Party that designates information or items for protection under this
 13   Order must take care to limit any such designation to specific material that qualifies
 14   under the appropriate standards.
 15           Mass, indiscriminate, or routinized designations are prohibited. Designations
 16   that are shown to be clearly unjustified or that have been made for an improper
 17   purpose (e.g., to unnecessarily encumber or retard the case development process or to
 18   impose unnecessary expenses and burdens on other Parties) expose the Designating
 19   Party to sanctions.
 20           If it comes to a Designating Party's attention that information or items that it
 21   designated for protection do not qualify for protection at all or do not qualify for the
 22   level of protection initially asserted, that Designating Party must promptly notify all
 23   other Parties that it is withdrawing the mistaken designation.
 24           5.2       Manner and Timing of Designations. Except as otherwise provided in
 25   this Order (See, e.g., the second paragraph of Section 5.2(a), below), or as otherwise
 26   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
 27   under this Order must be clearly so designated before the material is disclosed or
 28   produced. Designation in conformity with this Order requires:
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  1           (a)       for information in documentary form (e.g., paper or electronic
  2   documents, but excluding transcripts of depositions or other discovery matters), that
  3   the Producing Party affix the legend "CONFIDENTIAL," "HIGHLY
  4   CONFIDENTIAL – ATTORNEYS' EYES ONLY," or "HIGHLY CONFIDENTIAL
  5   – TRADE SECRET SOURCE CODE MATERIAL" to each page that contains
  6   protected material.
  7           A Party or Non-Party that makes original documents or materials available for
  8   inspection need not designate them for protection until after the inspecting Party has
  9   indicated which material it would like copied and produced. During the inspection
 10   and before the designation, all of the material made available for inspection shall be
 11   deemed "HIGHLY CONFIDENTIAL – ATTORNEYS' EYES ONLY" with the
 12   exception of source codeTrade Secret Source Material, where such material shall be
 13   deemed "HIGHLY CONFIDENTIAL – SOURCE CODE" throughout the inspection.
 14   After the inspecting Party has identified the documents it wants copied and produced,
 15   the Producing Party must determine which documents, or portions thereof, qualify
 16   for protection under this Order. Then, before producing the specified documents, the
 17   Producing Party must affix the appropriate legend ("CONFIDENTIAL," "HIGHLY
 18   CONFIDENTIAL – ATTORNEYS' EYES ONLY," or "HIGHLY CONFIDENTIAL
 19   – SOURCE CODE MATERIAL") to each page that contains Protected Material.
 20           (b)       for testimony given in deposition or in other discovery matters, that the
 21   Designating Party identify on the record, before the close of the deposition, hearing,
 22   or other proceeding, all protected testimony and specify the level of protection being
 23   asserted. When it is impractical to identify separately each portion of testimony that
 24   is entitled to protection and it appears that substantial portions of the testimony may
 25   qualify for protection, the Designating Party may invoke on the record (before the
 26   deposition, hearing, or other proceeding is concluded) a right to have up to seven (7)
 27   days to identify the specific portions of the testimony as to which protection is sought
 28   and to specify the level of protection being asserted.
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  1           The use of a document as an exhibit at a deposition shall not in any way affect
  2   its designation as "CONFIDENTIAL," "HIGHLY CONFIDENTIAL –
  3   ATTORNEYS' EYES ONLY," or "HIGHLY CONFIDENTIAL – SOURCE CODE
  4   MATERIAL."
  5

  6           Transcripts containing Protected Material shall have an obvious legend on the
  7   title page that the transcript contains Protected Material, and the title page shall be
  8   followed by a list of all pages (including line numbers as appropriate) that have been
  9   designated as Protected Material and the level of protection being asserted by the
 10   Designating Party. The Designating Party shall inform the court reporter of these
 11   requirements. Any transcript that is prepared before the expiration of a seven (7) day
 12   period for designation shall be treated during that period as if it had been designated
 13   "HIGHLY CONFIDENTIAL – ATTORNEYS' EYES ONLY" in its entirety unless
 14   otherwise agreed, with the exception that any deposition in which a document or
 15   thing designated as "HIGHLY CONFIDENTIAL – TRADE SECRET SOURCE
 16   CODEMATERIAL" was used or which included "HIGHLY CONFIDENTIAL –
 17   TRADE SECRET SOURCE CODEMATERIAL" testimony will be designated
 18   "HIGHLY CONFIDENTIAL – TRADE SECRET SOURCE CODEMATERIAL" in
 19   its entirety unless otherwise agreed. However, if a Non-Designating Party makes a
 20   request before the expiration of a seven (7) day period for designation, the Parties
 21   will work together to immediately identify testimony and exhibits that are not
 22   "HIGHLY CONFIDENTIAL – ATTORNEYS' EYES ONLY" or "HIGHLY
 23   CONFIDENTIAL – TRADE SECRET SOURCE CODEMATERIAL "
 24           After the expiration of that period, the transcript shall be treated only as
 25   actually designated. Any portion of a deposition transcript that contains information
 26   from a document or thing designated as "HIGHLY CONFIDENTIAL – TRADE
 27   SECRET SOURCE CODEMATERIAL" shall be separately bound from the
 28   transcript.
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  1           (c)       for information produced in some form other than documentary and for
  2   any other tangible items, that the Producing Party affix in a prominent place on the
  3   exterior of the container or containers in which the information or item is stored the
  4   legend "CONFIDENTIAL," "HIGHLY CONFIDENTIAL – ATTORNEYS'
  5

  6   EYES ONLY," or "HIGHLY CONFIDENTIAL – TRADE SECRET SOURCE
  7   CODEMATERIAL."
  8           5.3       Inadvertent Failures to Designate. If timely corrected, an inadvertent
  9   failure to designate qualified information or items does not, standing alone, waive the
 10   Designating Party's right to secure protection under this Order for such material.
 11   Upon timely correction of a designation, the Receiving Party must make reasonable
 12   efforts to assure that the material is treated in accordance with the provisions of this
 13   Order.
 14   6.      CHALLENGING CONFIDENTIALITY DESIGNATIONS
 15           6.1       Timing of Challenges. Any Party or Non-Party may challenge a
 16   designation of confidentiality at any time. Unless a prompt challenge to a Designating
 17   Party's confidentiality designation is necessary to avoid foreseeable, substantial
 18   unfairness, unnecessary economic burdens, or a significant disruption or delay of the
 19   litigation, a Party does not waive its right to challenge a confidentiality designation by
 20   electing not to mount a challenge promptly after the original designation is disclosed.
 21           6.2       Meet and Confer. The Challenging Party shall initiate the dispute
 22   resolution process by providing written notice of each designation it is challenging
 23   and describing the basis for each challenge. To avoid ambiguity as to whether a
 24   challenge has been made, the written notice must recite that the challenge to
 25   confidentiality is being made in accordance with this specific. The Parties shall
 26   attempt to resolve each challenge in good faith and must begin the process by
 27   conferring directly in accordance with Civil Local Rule 37-1. In conferring, the
 28   Challenging Party must explain the basis for its belief that the confidentiality
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  1   designation was not proper and must give the Designating Party an opportunity (not
  2   to exceed three (3) days after the Civil Local Rule 37-1 conference of counsel) to
  3   review the designated material, to reconsider the circumstances, and, if no change in
  4   designation is offered, to explain the basis for the chosen designation.
  5           6.3       Judicial Intervention. If the Parties cannot resolve a challenge without
  6   court intervention, the Challenging Party shall file and serve a motion disputing the
  7   confidentiality designation in accordance with Civil Local Rule 37-2. In addition, the
  8   Designating Party may file a motion to retain confidentiality at any time if there is
  9   good cause for doing so.
 10           The burden of persuasion in any such challenge proceeding shall be on the
 11   Designating Party. Frivolous challenges and those made for an improper purpose
 12   (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
 13   expose the Challenging Party to sanctions. All parties shall continue to afford the
 14   material in question the level of protection to which it is entitled under the Producing
 15   Party's designation until the court rules on the challenge.
 16   7.      ACCESS TO AND USE OF PROTECTED MATERIAL
 17           7.1       Basic Principles. A Receiving Party may use Protected Material that is
 18   disclosed or produced by another Party or by a Non-Party in connection with this case
 19   only for prosecuting, defending, or attempting to settle this litigation. Such Protected
 20   Material may be disclosed only to the categories of persons and under the conditions
 21   described in this Order. When the litigation has been terminated, a Receiving Party
 22   must comply with the provisions of Paragraph 13, below.
 23           Protected Material must be stored and maintained by a Receiving Party at a
 24   location and in a secure manner that ensures that access is limited to the persons
 25   authorized under this Order.
 26           7.2       Disclosure of "CONFIDENTIAL" Information or Items. Unless
 27   otherwise ordered by the court or permitted in writing by the Designating Party, a
 28
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  1   Receiving Party may disclose any information or item designated "CONFIDENTIAL"
  2   only to:
  3           (a)       the Receiving Party's Outside Counsel of Record in this action;
  4           (b)       paralegals, patent agents, and secretarial staff employed by the
  5   Receiving Party's Outside Counsel of Record in this action, provided it is reasonably
  6   necessary to disclose the information to such person for this litigation and they have
  7   signed and returned the "Acknowledgment and Agreement to Be Bound" (Exhibit
  8   A);
  9           (c)       two (2) designated In-House Counsel of the Receiving Party and two (2)
 10   other designated employees of the Receiving Party, provided it is reasonably
 11   necessary to disclose the information to such person for this litigation and they have
 12   signed and returned the "Acknowledgment and Agreement to Be Bound" (Exhibit
 13   A);
 14           (d)       Experts (as defined in this Order) of the Receiving Party to whom
 15   disclosure is reasonably necessary for this litigation and who have signed the
 16   "Acknowledgment and Agreement to Be Bound" (Exhibit A);
 17           (e)       the Court and its personnel;
 18           (f)       court reporters and their staff and Professional Vendors to whom
 19   disclosure is reasonably necessary for this litigation and who have signed the
 20   "Acknowledgment and Agreement to Be Bound" (Exhibit A);
 21           (g)       any mediator who is assigned by the Court to hear this matter, and his or
 22   her staff;
 23           (h)       Rule 30(b)(6) witnesses of the Producing Party regardless of whether the
 24   witness is the author or recipient of the document;
 25           (i)       the author or recipient of a document containing the information or a
 26   custodian or other person who otherwise possessed or knew the information; and
 27           (ij)      any other person with the prior written consent of the Producing Party.
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  1           7.3       Disclosure of "HIGHLY CONFIDENTIAL – ATTORNEYS' EYES
  2   ONLY" Information or Items. Unless otherwise ordered by the Court or permitted in
  3   writing by the Designating Party, information, documents, and things designated
  4   "HIGHLY CONFIDENTIAL – ATTORNEYS' EYES ONLY," shall be
  5   disclosedsubject to the provisions set forth in Paragraphs 7.3 and 7.4, and may be
  6   disclosed, subject to Paragraph 7.4, solely to the following persons:
  7           (a)       the Receiving Party's Outside Counsel of Record in this action;
  8           (b)       paralegals, patent agents, and secretarial staff employed by the
  9   Receiving Party's Outside Counsel of Record in this action, provided it is reasonably
 10   necessary to disclose the information to such person for this litigation and they have
 11   signed and returned the "Acknowledgment and Agreement to Be Bound" (Exhibit
 12   A);
 13           (c)       Experts of the Receiving Party: (1) to whom disclosure is reasonably
 14   necessary for this litigation; (2) who have signed the "Acknowledgment and
 15   Agreement to Be Bound" (Exhibit A); and (3) as to whom the procedures set forth in
 16   Paragraph 7.7(a), below, have been followed;
 17           (d)       the Court and its personnel;
 18           (e)       court reporters and their staff and Professional Vendors to whom
 19   disclosure is reasonably necessary for this litigation and who have signed the
 20   "Acknowledgment and Agreement to Be Bound" (Exhibit A);
 21           (f)       any mediator who is assigned by the Court to hear this matter, and his or
 22   her staff;
 23           (g)       Rule 30(b)(6) witnesses of the Producing Party regardless of whether the
 24   witness is the author or recipient of the document;
 25           (h)       the author or recipient of a document containing the information or a
 26   custodian or other person who otherwise possessed or knew the information; and
 27           (i)       any other person with the prior written consent of the Producing Party.
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  1           7.4       Procedures for Disclosure of "HIGHLY CONFIDENTIAL –
  2   ATTORNEYS' EYES ONLY" Information or Items. The following provisions apply
  3   to the production of information, documents, and things designated "HIGHLY
  4   CONFIDENTIAL – ATTORNEYS' EYES ONLY," unless otherwise agreed by the
  5   Producing Party:
  6           (a)       Absent express written permission from the Producing Party, the
  7   Receiving Party may not create any electronic images, or any other images, or make
  8   electronic copies of any information, document, or thing designated "HIGHLY
  9   CONFIDENTIAL – ATTORNEYS' EYES ONLY" except as necessary to file,
 10   lodge, or otherwise submit documents with the Court (and any such electronic
 11   image/copy shall be immediately destroyed by the Receiving Party after the
 12   completion of any such filing, lodging, or submission);
 13           (b)       The Receiving Party may not create more than six (6) physical copies of
 14   any information, document, or thing designated "HIGHLY CONFIDENTIAL –
 15   ATTORNEYS' EYES ONLY;"
 16           (c)       When not in use, the Receiving Party's copies of any information,
 17   document, or thing designated "HIGHLY CONFIDENTIAL – ATTORNEYS' EYES
 18   ONLY" must be kept in a secured, locked area at Outside Counsel of Record's offices
 19   in the continental United States. The Receiving Party may also temporarily keep the
 20   copies at: (i) the Court for any proceedings(s) relating to the "HIGHLY
 21   CONFIDENTIAL – ATTORNEYS' EYES ONLY" material, but only for the dates
 22   associated with the proceeding(s); (ii) the sites where any deposition(s) relating to the
 23   "HIGHLY CONFIDENTIAL – ATTORNEYS' EYES ONLY" material are taken,
 24   provided they are in the continental United States, and then only for the dates
 25   associated with the deposition(s); and (iii) any intermediate location in the
 26   continental United States reasonably necessary to transport the copies for a hearing
 27   or deposition in this litigation (e.g., a hotel prior to a deposition). The Receiving
 28   Party shall exercise due care in maintaining the security of the copies at these
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  1   temporary locations. Under no circumstances shall any information, document, or
  2   thing designated "HIGHLY CONFIDENTIAL – ATTORNEYS ' EYES ONLY"
  3   obtained by the Receiving Party ever physically leave the continental United States.
  4           (d)       The provisions of this Paragraph 7.4 apply equally to any information,
  5   document, or thing created or derived from information, documents, or things
  6   designated "HIGHLY CONFIDENTIAL – ATTORNEYS' EYES ONLY."
  7           7.5       Disclosure of "HIGHLY CONFIDENTIAL – TRADE SECRET
  8   SOURCE CODEMATERIAL" Information or Items. Unless otherwise ordered by
  9   the Court or permitted in writing by the Designating Party, information, documents,
 10   and things designated "HIGHLY CONFIDENTIAL – TRADE SECRET SOURCE
 11   CODEMATERIAL," shall be subject to the provisions set forth in Paragraphs 7.5
 12   and 7.6, and may be disclosed, subject to Paragraph 7.6, solely to the following
 13   persons:
 14           (a)       the Receiving Party's Outside Counsel of Record in this action;
 15           (b)       paralegals, patent agents, and secretarial staff employed by the Receiving
 16   Party's Outside Counsel of Record in this action, provided it is reasonably necessary
 17   to disclose the information to such person for this litigation and they have signed and
 18   returned the "Acknowledgment and Agreement to Be Bound" (Exhibit A);
 19           (c)       Experts of the Receiving Party: (1) to whom disclosure is reasonably
 20   necessary for this litigation; (2) who have signed the "Acknowledgment and
 21   Agreement to Be Bound" (Exhibit A); and (3) as to whom the procedures set forth in
 22   Paragraph 7.7(a), below, have been followed;
 23           (d)       the Court and its personnel;
 24           (e)       court reporters and their staff who have signed the "Acknowledgment and
 25   Agreement to Be Bound" (Exhibit A);
 26           (f)       any mediator who is assigned by the Court to hear this matter, and has
 27   signed the "Acknowledgment and Agreement to Be Bound" (Exhibit A);
 28
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  1           (g)       Rule 30(b)(6) witnesses of the Producing Party regardless of whether the
  2   witness is the author or recipient of the document;
  3           (h)       the author or recipient of a document containing the information or a
  4   custodian or other person who otherwise possessed or knew the information; and
  5           (i)       any other person with the prior written consent of the Producing Party.
  6           7.6       Procedures for Disclosure of "HIGHLY CONFIDENTIAL – TRADE
  7   SECRET SOURCE CODEMATERIAL" Information or Items. The following
  8   provisions apply to the production of information, documents, and things designated
  9   "HIGHLY CONFIDENTIAL – TRADE SECRET SOURCE CODEMATERIAL,"
 10   unless otherwise agreed by the Producing Party:
 11           (a)       All Trade Secret Source Material (e.g., assembly instructions and
 12   source code of the Plaintiff) shall be made available by the PlaintiffProducing Party
 13   to the DefendantsReceiving Party in a secure room located at an office of the
 14   Plaintiff’Producing Party's outside litigation counsel of record in this litigation
 15   located in Orange County, California. In such instance, the Plaintiff will be the
 16   Producing Party and the Defendants will be the Receiving Party
 17           (a)(i) All source code of the Defendants shall be made available by the
 18   Defendants to the Plaintiff in a secure room located at an office of the Defendant’s
 19   outside litigation counsel of record in this litigation located in Beijing, China. In such
 20   instance, the Defendants will be the Producing Party and the Plaintiff will be the
 21   Receiving Party.
 22           (b)       No more than a total of four (4) individuals timely identified by the
 23   Receiving Party shall have access to the secure room in which the Producing Party
 24   produces its source codeTrade Secret Source Material at any one time.
 25           (c)       For source code, the inspection shall take place on a secured,
 26   stand-alone computer equipped with a reasonably current version of Microsoft
 27   Windows operating system or Unix system, and an appropriate software platform for
 28   viewing the source code. The secured, stand-alone computer shall not be equipped
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  1   with either Internet access or network access to other computers. With the exception
  2   of a keyboard, mouse, and monitor, all access ports on the secured, non-network,
  3   stand-along computer shall be disabled to prevent and protect against any
  4   unauthorized copying, transmission, removal, or other transfer of any source
  5   codeTrade Secret Source Material outside or away from the secure room and/or
  6   computer on which source code is provided for inspection (hereinafter "Source Code
  7   Computer"). If necessary, the Source Code Computer may be configured by the
  8   Producing Party to run another mutually agreed upon operating system.
  9           (d)       The Producing Party shall install tools that are sufficient for viewing
 10   and searching the source code produced and on the platform produced. The
 11   Receiving Party's Outside Counsel and/or experts may request on a timely basis that
 12   other commercially available software tools for viewing and searching the source
 13   code be installed on the Source Code Computer, provided, however, that such tools
 14   are reasonably necessary for the Receiving Party to perform its review of the source
 15   code consistent with all of the protections herein. The Receiving Party must provide
 16   the Producing Party with a storage device containing such licensed software tool(s)
 17   or other appropriate mechanism for obtaining the tool at least two (2) days in advance
 18   of the date upon which the Receiving Party wishes to have the additional software
 19   tools available for use on the Source Code Computer. The Receiving Party or its
 20   Expert(s) shall not at any time use any compilers, interpreters, or simulators in
 21   connection with the Producing Party's source code. The Producing Party shall not
 22   install any keystroke or other monitoring software on the Source Code Computer.
 23           (e)       The Producing Party shall make the source code available electronically
 24   and in text searchable form.
 25           (f)       Unless the Parties otherwise agree, the secure room and the Source Code
 26   Computer shall be made available from 9 a.m. to 7 p.m. local time, Monday through
 27   Friday (excluding holidays), until the close of the evidentiary record in this litigation.
 28
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  1           (g)       Prior to the first inspection of a Producing Party's source code s Trade
  2   Secret Source Material, the requesting party shall provide the Producing Party two (2)
  3   business days' notice of its intent to access the Producing Party' s secure room and/or
  4   Source Code Computer. This first inspection can take place over as many successive
  5   days as the Parties agree to, subject to modification during the inspection. The
  6   requesting party shall provide two (2) business days' notice prior to any subsequent
  7   inspections of the same Producing Party's source codeTrade Secret Source Material.
  8   Subsequent inspections can take place over as many successive days as the Parties
  9   agree to, subject to modification during the inspection.
 10           (h)       The Receiving Party may request copies of those portions of the Trade
 11   Secret Source Material (including source code) that are reasonably necessary to
 12   facilitate the preparation of court filings, pleadings, expert reports, deposition, as
 13   well as for hearing and deposition preparation/exhibits – but shall request copying of
 14   only such limited portions as are relevant to the claims and defenses in this case and
 15   are reasonably necessary for such purpose. In particular, the Receiving Party shall
 16   not print source codeTrade Secret Source Material in order to review pages or blocks
 17   of source codeTrade Secret Source Material elsewhere in the first instance (i.e., as an
 18   alternative to reviewing that source codeTrade Secret Source Material in the secure
 19   room). To that end, the Receiving Party shall not request copies of more than three (3)
 20   consecutive pages of any document.
 21           (i)       If the Producing Party objects that the portions requested for copying
 22   are excessive and/or are not being done for a permitted purpose, the Producing Party
 23   shall make such objection known to the Receiving Party within five (5) business days.
 24   If, after meeting and conferring, the Producing Party and the Receiving Party cannot
 25   resolve the objection, the Producing Party shall be entitled to seek the Court's
 26   resolution of whether the request for copying of the source codeTrade Secret Source
 27   Material in question was in excess and/or for a non-permitted Purpose using the same
 28   procedure as set forth in Paragraph 6 (whereby the Producing Party is the
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  1   "Challenging Party" and the Receiving Party is the "Designating Party"). The burden
  2   shall be on the Receiving Party to demonstrate that the number of pages requested for
  3   copying is reasonable and not for an improper purpose.
  4           (j)       The source codeTrade Secret Source Material sought to be copied shall
  5   be labeled with "HIGHLY CONFIDENTIAL – TRADE SECRET SOURCE
  6   CODEMATERIAL."
  7   The Producing Party will keep the originals of the copied documents, and copies
  8   shall be made for Outside Counsel within seven (7) days –unless an objection under
  9   Paragraph 7.6(i), above, is timely made. If a timely objection is made, the Producing
 10   Party will retain the originals and all requested copies until the objection is decided
 11   by the Court.
 12           (k)       Absent express written permission from the Producing Party, the
 13   Receiving Party may not create any electronic images, or any other images, or make
 14   electronic copies of any information, document, or thing designated "HIGHLY
 15   CONFIDENTIAL – TRADE SECRET SOURCE CODEMATERIAL" except as
 16   necessary to file, lodge, or otherwise submit documents with the Court (and any such
 17   electronic image/copy shall be immediately destroyed by the Receiving Party after
 18   the completion of any such filing, lodging, or submission);
 19           (l)       The Receiving Party may not create more than two (2) additional
 20   physical copies of any information, document, or thing designated "HIGHLY
 21   CONFIDENTIAL – TRADE SECRET SOURCE CODEMATERIAL;"
 22           (m)       When not in use, for the situation under 7.6(a), the Receiving Party's
 23   copies of any information, document, or thing designated "HIGHLY
 24   CONFIDENTIAL – TRADE SECRET SOURCE CODEMATERIAL" must be kept
 25   in a secured, locked area at Outside Counsel of Record's offices in the continental
 26   United States. When not in use, for the situation under 7.6(a)(i), the Receiving
 27   Party's copies of any information, document, or thing designated "HIGHLY
 28   CONFIDENTIAL – SOURCE CODE" must be kept in a secured, locked area at
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  1   Outside Counsel of Record's offices in the People’s Republic of China. The
  2   Receiving Party may also temporarily keep the copies at: (i) the Court for any
  3   proceedings(s) relating to the "HIGHLY CONFIDENTIAL – TRADE SECRET
  4   SOURCE CODEMATERIAL," but only for the dates associated with the
  5   proceeding(s); (ii) the sites where any deposition(s) relating to the "HIGHLY
  6   CONFIDENTIAL – TRADE SECRET SOURCE CODEMATERIAL" are taken,
  7   provided they are in the continental United States, and then only for the dates
  8   associated with the deposition(s); and (iii) any intermediate location in the
  9   continental United States reasonably necessary to transport the copies for a hearing
 10   or deposition in this litigation (e.g., a hotel prior to a deposition). The Receiving
 11   Party shall exercise due care in maintaining the security of the copies at these
 12   temporary locations. Except for the purpose of taking depositions in Hong Kong and
 13   subject to the laws and regulations of the United States relating to the export of
 14   technical data contained in such Protected Material, underUnder no circumstances
 15   shall any information, document, or thing designated "HIGHLY CONFIDENTIAL –
 16   TRADE SECRET SOURCE CODE MATERIAL" obtained by the Receiving Party
 17   under 7.6(a) ever physically leave the continental United States. Except for the
 18   purpose of taking depositions in Hong Kong and subject to the laws and regulations
 19   of the People’s Republic of China relating to the export of technical data contained in
 20   such Protected Material, under no circumstances shall any information, document, or
 21   thing designated "HIGHLY CONFIDENTIAL –SOURCE CODE " obtained by the
 22   Receiving Party under 7.6(a)(i) ever physically leave the People’s Republic of China.
 23           (n)       The provisions of this Paragraph 7.6 apply equally to any information,
 24   document, or thing created or derived from information, documents, or things
 25   designated "HIGHLY CONFIDENTIAL – TRADE SECRET SOURCE
 26   CODEMATERIAL."
 27           (o)       The Receiving Party shall be entitled to take notes relating to the source
 28   codeTrade Secret Source Material (subject to all of the restrictions contained herein),
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  1   but may not block copy the source codeTrade Secret Source Material into the notes.
  2   No copies of all or any portion of the source codeTrade Secret Source Material may
  3   leave the room in which the source codeTrade Secret Source Material is inspected
  4   except as otherwise provided herein. The Producing Party may visually, but not
  5   otherwise, monitor the activities of the Receiving Party's representatives during any
  6   source codeTrade Secret Source Material review, but only to ensure that no
  7   information concerning the source codeTrade Secret Source Material is being created
  8   or transmitted in any way. The Producing Party may not observe or inspect the
  9   Receiving Party’s notes or monitor the portions of source codeTrade Secret Source
 10   Material reviewed by the Receiving Party's representative.
 11           (p)       Other than as provided in this Order, the Receiving Party will not copy,
 12   remove, or otherwise transfer any source codeTrade Secret Source Material from the
 13   secure room, including, without limitation, copying, removing, or transferring the
 14   source codeTrade Secret Source Material onto any recordable media or recordable
 15   device, including without limitation sound recorders, computers, cellular telephones,
 16   peripheral equipment, cameras, CDs, DVDs, or drives of any kind. The Receiving
 17   Party will not transmit any source codeTrade Secret Source Material in any way from
 18   the Producing Party's secured facilities or the offices of the Producing Party's Outside
 19   Counsel located in the continental United States;
 20           (q)       The Producing Party shall provide representatives of the Receiving
 21   Party performing the inspection of the source codeTrade Secret Source Material with
 22   access to another secure location in the same building as the secure room to store
 23   personal belongings. The Producing Party shall not be permitted to observe or record
 24   the activities of the Receiving Party's representative(s) while in the secure location,
 25   and shall permit the representative(s) to access the secure location on an "as needed"
 26   basis. Unless otherwise agreed in advance by the Parties in writing, at the end each
 27   day on which inspection is done under this Order, the Receiving Party's Outside
 28
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  1   Counsel and/or Expert(s) shall remove all notes, documents, and all other materials
  2   from the secure room.
  3           7.7       Procedures for Approving or Objecting to Disclosure of "HIGHLY
  4   CONFIDENTIAL – ATTORNEYS' EYES ONLY" or "HIGHLY CONFIDENTIAL –
  5   TRADE SECRET SOURCE CODEMATERIAL" Information or Items to Experts.
  6           (a)       Unless otherwise ordered by the Court or agreed to in writing by the
  7   Designating Party, a Party that seeks to disclose to an Expert (as defined in this Order)
  8   any information or item that has been designated "HIGHLY CONFIDENTIAL –
  9   ATTORNEYS' EYES ONLY" or "HIGHLY CONFIDENTIAL – TRADE SECRET
 10   SOURCE CODEMATERIAL" pursuant to Paragraph 7.3(c) or 7.5(c) must first make
 11   a written request to the Designating Party that: (1) identifies the general categories of
 12   "HIGHLY CONFIDENTIAL – ATTORNEYS' EYES ONLY" or "HIGHLY
 13   CONFIDENTIAL – TRADE SECRET SOURCE CODEMATERIAL" information
 14   that the Receiving Party seeks permission to disclose to the Expert; (2) sets forth the
 15   full name of the Expert and the city and state of his or her primary residence; (3)
 16   attaches a copy of the Expert's current resume or curriculum vitae; (4) identifies the
 17   Expert's current employer(s); and (5) identifies each person or entity from whom the
 18   Expert has received compensation or funding for work in his or her areas of expertise
 19   or to whom the expert has provided professional services, including in connection with
 20   a litigation, at any time during the preceding five (5) years.1
 21           (b)       A Party that makes a request and provides the information specified in
 22   the preceding respective paragraphs may disclose the subject Protected Material to
 23   the Expert unless, within seven (7) days of delivering the request, the Party receives a
 24

 25   1
        If the Expert believes any of this information is subject to a confidentiality obligation
 26   to a third-party, then the Expert should provide whatever information the Expert
      believes can be disclosed without violating any confidentiality agreements, and the
 27   Party seeking to disclose to the Expert shall be available to meet and confer with the
 28   Designating Party regarding any such engagement.
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  1   written objection from the Designating Party. Any such objection must set forth in
  2   detail the grounds on which it is based.
  3           (c)       A Party that receives a timely written objection must meet and confer
  4   with the Designating Party to try to resolve the matter by agreement within three (3)
  5   business days of the written objection. No further conference of counsel will be
  6   required under Civil Local Rule 37-1. If no agreement is reached, the Party seeking
  7   to make the disclosure to the Expert may file a motion as provided in Civil Local
  8   Rule 37-2 seeking permission from the court to do so. Any such motion must
  9   describe the circumstances with specificity, set forth in detail the reasons why
 10   disclosure to the Expert is reasonably necessary, assess the risk of harm that the
 11   disclosure would entail, and suggest any additional means that could be used to
 12   reduce that risk.
 13                 In any such proceeding, the Party opposing disclosure to the Expert shall
 14   bear the burden of proving that the risk of harm that the disclosure would entail (under
 15   the safeguards proposed) outweighs the Receiving Party's need to disclose the
 16   Protected Material to its Expert.
 17           7.8       Restrictions on the use of Protected Material. The restrictions on the
 18   use of "CONFIDENTIAL," "HIGHLY CONFIDENTIAL – ATTORNEYS' EYES
 19   ONLY," and "HIGHLY CONFIDENTIAL – TRADE SECRET SOURCE
 20   CODEMATERIAL" Disclosure or Discovery Material established by this Order are
 21   applicable only to Disclosure or Discovery Material received by a Party from another
 22   Party or from a Non-Party as a direct result of this litigation. A Party is free to do
 23   whatever it desires with its own "CONFIDENTIAL," "HIGHLY CONFIDENTIAL
 24   – ATTORNEYS' EYES ONLY," or "HIGHLY CONFIDENTIAL – TRADE
 25   SECRET SOURCE CODEMATERIAL" Disclosure or Discovery Materials in its
 26   sole and complete discretion.
 27

 28
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  1   8.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
  2           IN OTHER LITIGATION
  3           If a Party is served with a subpoena or a court order issued in other litigation
  4   that compels disclosure of any information or items designated in this action as
  5   "CONFIDENTIAL," "HIGHLY CONFIDENTIAL – ATTORNEYS' EYES
  6   ONLY," or "HIGHLY CONFIDENTIAL – TRADE SECRET SOURCE
  7   CODEMATERIAL," that Party must:
  8           (a)       promptly notify in writing the Designating Party. Such notification
  9   shall include a copy of the subpoena or court order;
 10           (b)       promptly notify in writing the party who caused the subpoena or order
 11   to issue in the other litigation that some or all of the material covered by the
 12   subpoena or order is subject to this Order. Such notification shall include a copy of
 13   this Order; and
 14           (c)       cooperate with respect to all reasonable procedures sought to be
 15   pursued by the Designating Party whose Protected Material may be affected.2
 16           If the Designating Party timely seeks a protective order, the Party served with
 17   the subpoena or court order shall not produce any information designated in this
 18   action as "CONFIDENTIAL," "HIGHLY CONFIDENTIAL – ATTORNEYS'
 19   EYES ONLY," or "HIGHLY CONFIDENTIAL – SOURCE CODE" before a
 20   determination by the court from which the subpoena or order issued, unless the Party
 21   has obtained the Designating Party's permission. The Designating Party shall bear
 22   the burden and expense of seeking protection in that court of its confidential material.
 23

 24

 25
      2
 26    The purpose of imposing these duties is to alert the interested parties to the
      existence of this Protective Order and to afford the Designating Party in this case an
 27   opportunity to try to protect its confidentiality interests in the court from which the
 28   subpoena or order issued.
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  1   9.      A NON-PARTY'S PROTECTED MATERIAL SOUGHT TO BE
  2           PRODUCED IN THIS LITIGATION
  3           (a)       The terms of this Order are applicable to information produced by a
  4   Non-Party in this action and designated as "CONFIDENTIAL," "HIGHLY
  5   CONFIDENTIAL – ATTORNEYS' EYES ONLY," or "HIGHLY CONFIDENTIAL
  6   – TRADE SECRET SOURCE CODEMATERIAL." Such information produced by
  7   Non-Parties in connection with this litigation is protected by the remedies and relief
  8   provided by this Order. Nothing in these provisions should be construed as
  9   prohibiting a Non-Party from seeking additional protections.
 10           (b)       In the event that a Party is required, by a valid discovery request, to
 11   produce a Non-Party's confidential information in its possession, and the Party is
 12   subject to an agreement with the Non-Party not to produce the Non-Party's confidential
 13   information, then the Party shall:
 14           1.        promptly notify in writing the Requesting Party and the Non-Party that
 15   some or all of the information requested is subject to a confidentiality agreement with
 16   a Non-Party;
 17           2.        promptly provide the Non-Party with a copy of the Stipulated Protective
 18   Order in this litigation, the relevant discovery request(s), and a reasonably specific
 19   description of the information requested; and
 20           3.        make the information requested available for inspection by the
 21   Non-Party.
 22           (c)       If the Non-Party fails to object or seek a protective order from this Court
 23   within ten (10) days of receiving the notice and accompanying information, the
 24   Receiving Party may produce the Non-Party's confidential information responsive to
 25   the discovery request. Absent a court order to the contrary, the Non-Party shall bear
 26   the burden and expense of seeking protection in this court of its Protected Material.
 27

 28   10.     UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
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  1           If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
  2   Protected Material to any person or in any circumstance not authorized under this
  3   Order, the Receiving Party must immediately: (1) notify in writing the Designating
  4   Party of the unauthorized disclosures; (2) use its best efforts to retrieve all
  5   unauthorized copies of the Protected Material; (3) inform the person or persons to
  6   whom unauthorized disclosures were made of all the terms of this Order; and (4)
  7   request such person or persons to execute the "Acknowledgment and Agreement to Be
  8   Bound" that is attached hereto as Exhibit A.
  9   11.     INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
 10           PROTECTED MATERIAL
 11           Pursuant to Rule 502 of the Federal Rules of Evidence, the inadvertent
 12   production of documents subject to the attorney-client privilege, the attorney work
 13   product doctrine, or any other applicable privilege or protection from disclosure will
 14   not waive the privilege or protection from disclosure. In addition, the Parties agree
 15   that if a document subject to the attorney-client privilege, the attorney work-product
 16   doctrine, or any other applicable privilege or protection from disclosure is included
 17   in documents made available for inspection, such disclosure shall not be considered a
 18   waiver of the privilege or protection from disclosure.
 19           The Producing Party must notify the receiving Party within seven (7) business
 20   days of becoming aware of the inadvertent disclosure of privileged or protected
 21   information. Upon a request from a Party that has inadvertently produced any
 22   document that it believes is subject to the attorney-client privilege, the attorney work
 23   product doctrine, or any other applicable privilege or protection from disclosure,
 24   each Party receiving said document shall return it and all physical copies to the
 25   Producing Party and destroy all electronic copies within ten (10) business days.
 26   Nothing herein shall prevent the Receiving Party from preparing a record for its own
 27   use containing the date, author, addressee(s), and topic of the document and such
 28   other information as is reasonably necessary to identify the document and describe its
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  1   nature to the Court in any motion to compel production of the document. Such a
  2   record of the identity and nature of a document may not be made or used for any
  3   purpose other than preparation of a motion to compel in this Action. Any other
  4   information in the document may not be used for any purpose in this Action. After
  5   the return of the document(s), the Receiving Party may challenge the Producing
  6   Party's claim(s) of privilege, protection, or work-product by making a motion to the
  7   Court.
  8            When a Producing Party gives notice to Receiving Parties that certain
  9   inadvertently produced material is subject to a claim of privilege or other protection,
 10   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
 11   Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
 12   may be established in an e-discovery order that provides for production without prior
 13   privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
 14   Parties reach an agreement on the effect of disclosure of a communication or
 15   information covered by the attorney-client privilege or work product protection, the
 16   Parties may incorporate their agreement in the stipulated protective order submitted
 17   to the court.
 18   12.      MISCELLANEOUS
 19            12.2 Right to Further Relief. Nothing in this Order abridges the right of any
 20   person to seek its modification by the court in the future.
 21            12.2 Right to Assert Other Objections. By stipulating to the entry of this Order
 22   no Party waives any right it otherwise would have to object to disclosing or producing
 23   any information or item on any ground not addressed in this Order. Similarly, no Party
 24   waives any right to object on any ground to use in evidence of any of the material
 25   covered by this Order.
 26            12.3 Export Control. Disclosure of Protected Material shall be subject to all
 27   applicable United States and the People’s Republic of China laws and regulations
 28   relating to the export of technical data contained in such Protected Material, including
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  1   the release of such technical data to foreign persons or nationals in each countrythe
  2   United States or elsewhere. The Producing Party shall be responsible for identifying
  3   any such controlled technical data, and the Receiving Party shall take measures
  4   necessary to ensure compliance.
  5           12.4 Filing Protected Material. Without written permission from the
  6   Designating Party or a court order secured after appropriate notice to all interested
  7   persons, a Party may not file in the public record in this action any Protected Material.
  8   A Party that seeks to file under seal any Protected Material must comply with Civil
  9   Local Rule 79-5. Protected Material may only be filed under seal pursuant to a court
 10   order authorizing the sealing of the specific Protected Material at issue. Pursuant to
 11   Civil Local Rule 79-5, a sealing order will issue only upon a request establishing that
 12   the Protected Material at issue is privileged, protectable as a trade secret, or otherwise
 13   entitled to protection under the law.
 14   13.     FINAL DISPOSITION
 15           Within 60 days after the final disposition of this action, as defined in Paragraph
 16   4, each Receiving Party must return all Protected Material to the Producing Party. As
 17   used in this subdivision, "all Protected Material" includes all copies, abstracts,
 18   compilations, summaries, and any other format reproducing or capturing any of the
 19   Protected Material. The Receiving Party must also submit a written certification to
 20   the Producing Party (and, if not the same person or entity, to the Designating Party) by
 21   the 60 day deadline that: (1) identifies (by category, where appropriate) all the
 22   Protected Material that was returned; and (2) affirms that the Receiving Party has not
 23   retained any copies, abstracts, compilations, summaries or any other format
 24   reproducing or capturing any of the Protected Material.
 25   14.     RETROACTIVE EFFECT
 26           This Order shall apply retroactively to the date the instant Action was filed.
 27   All materials produced during the course of the Action prior to the execution of this
 28   Order that were designated as "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL
      DOCSLA-114885v1                          - 25 -                    JOINT STIPULATED PROTECTIVE ORDER
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  1   – ATTORNEYS' EYES ONLY" shall be subject to the terms and conditions of this
  2   Order.
  3

  4   PURSUANT TO STIPULATION, IT IS SO ORDERED.
  5

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  7   Dated: February ____, 2014   By:
                                         Hon. David F. McCormick
  8                                      United States Magistrate Judge
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      DOCSLA-114885v1                     - 26 -                 JOINT STIPULATED PROTECTIVE ORDER
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      Document comparison by Workshare Professional on 2014年1月28日 17:59:07
      Input:
                          interwovenSite://JHCMS1.BJJUNHE.COM/JUNHE/325889
      Document 1 ID
                          2/6
                          #3258892v6<JUNHE> -
      Description         Joint_Protective_Order_(Niell-Tech)_(Final_Version)_2014
                          _01_26
                          interwovenSite://JHCMS1.BJJUNHE.COM/JUNHE/325445
      Document 2 ID
                          8/3
                          #3254458v3<JUNHE> -
      Description         DOCSLA-#115448-v4-Joint_Stipulated_Protective_Order_
                          (Meggitt)_(Final_Version)
      Rendering set       standard

      Legend:
      Insertion
      Deletion
      Moved from
      Moved to
      Style change
      Format change
      Moved deletion
      Inserted cell
      Deleted cell
      Moved cell
      Split/Merged cell
      Padding cell

      Statistics:
                          Count
      Insertions                               126
      Deletions                                 72
      Moved from                                 5
      Moved to                                   5
      Style change                               0
      Format changed                             0
      Total changes                            208
